        Case 3:24-cv-02658-TSH             Document 6         Filed 05/06/24   Page 1 of 3


                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

  CHLOE ANDERSON,
                                                       Case No. 24-cv-02658-TSH
                  Plaintiff,

           v.                                          ORDER SETTING INITIAL CASE
                                                       MANAGEMENT CONFERENCE
  STITCH FIX, INC.,                                    AND ADR DEADLINES
                  Defendant.

       This action is assigned to the Honorable Thomas S. Hixson.
       Service of documents. When serving the complaint or notice of removal, the plaintiff or
removing defendant must serve on all other parties a copy of this order and the supplementary
material specified in Civil Local Rule 4-2.
         Application of Special Discovery Protocols. This case may be governed by Initial
Discovery Protocols for Employment Cases Alleging Adverse Action described in General Order
71. Counsel and clients are directed to review General Order 71 to determine whether it applies
to this case, and to comply with that General Order if applicable. If General Order 71 applies, it
supersedes certain obligations set out in the schedule below.
         Magistrate Judge Jurisdiction. This case has been randomly assigned to a magistrate
judge, who, with written consent of all parties, may conduct all proceedings in a case, including
all pretrial and trial proceedings, entry of judgment and post-trial motions, with appeal directly to
the United States Court of Appeals for the Ninth Circuit. See “Consenting to the Jurisdiction of a
Magistrate Judge” on the Court’s webpage at www.cand.uscourts.gov for more information.
        Plaintiff or the removing party must complete and file the attached form “Consent or
Declination to Magistrate Judge Jurisdiction” within 14 days of case initiation, and all other
parties must do so within 14 days of appearing in the case, or as otherwise ordered by the Clerk
or magistrate judge.
       Availability of Alternative Dispute Resolution. This action is assigned to the
Alternative Dispute Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3.
Counsel and clients shall familiarize themselves with that rule and with the material entitled
“Dispute Resolution Procedures in the Northern District of California” on the Court’s ADR
webpage at www.cand.uscourts.gov/adr.
        Important case management dates. Counsel must comply with the dates listed below
unless the judge otherwise orders or unless General Order 71 directs earlier deadlines.

 Case Management Event                                                         Deadline
 File Certification of Conflicts and Interested Entities or Persons.           Upon first appearance
 (See Civil L.R. 3-15)                                                         (and supplement
                                                                               as necessary)
       Case 3:24-cv-02658-TSH            Document 6        Filed 05/06/24       Page 2 of 3


Case Management Event                                                           Deadline
Deadline to file ADR Certification. (See ADR L.R. 3)                            7/18/2024


Deadline to meet and confer re: initial disclosures, early settlement, ADR      7/18/2024
process selection, and discovery plan. (See F.R. Civ. P. 26(f))


Deadline to make initial disclosures. (See F.R. Civ. P. 26(a)(1))               8/1/2024
(An earlier deadline for disclosures may be required by General Order 71.)


Deadline to file Joint Case Management Statement. (See Standing Order           8/1/2024
for All Judges of the Northern District of California)
Initial Case Management Conference: Courtroom E, 15th Floor                     8/8/2024 at 10:00 AM




              Order Setting Initial Case Management Conference & ADR Deadlines — Page 2
        Case 3:24-cv-02658-TSH           Document 6       Filed 05/06/24      Page 3 of 3



                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  CHLOE ANDERSON,                                   Case No. 24-cv-02658-TSH
                 Plaintiff,
                                                    CONSENT OR DECLINATION
          v.                                        TO MAGISTRATE JUDGE
                                                    JURISDICTION
  STITCH FIX, INC.,
                 Defendant.


INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

       ☐ CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

       ☐ DECLINE Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: __________________                      NAME:


                                                               Signature or “/s/”
                                       COUNSEL FOR
                                       (OR “PRO SE”): ________________________________
